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Edward Christopher White, Jr.
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA Case Number: 8:20-cr-165-MSS-AAS
v. USM Number: 26898-017
EDWARD CHRISTOPHER WHITE, JR. Jason Paul Mehta, Retained

JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Counts One and Two of the Superseding Information. Defendant is adjudicated
guilty of the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Numbers
18 U.S.C, § 371 Conspiracy to Commit an Offense On or about One
Against the United States August 1, 2019
42 U.S.C. § 1320a- Receipt of Kickbacks in Connection On or about Two
Zb(byY 1A) with a Federal Health Care Program August 1, 2019

Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

The Underlying Indictment is dismissed, as to this Defendant only, on the motion of the United States.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, Defendant shall notify the Court and
United States Attorney of any material change in Defendant’s economic circumstances.

Date of Imposition of Judgment:

April 4, 2023

| CERTIFY THE FOREGOING TO BE A TRUE
AND CORRECT COPY OF THE ORIGINAL

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April 6, 2023

AO 245B (Rev. 09/19) Judgment in a Criminal Case

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IMPRISONMENT
Defendant is hereby committed to the custody of the United States Bureau of Prisons to be

imprisoned for a term of THIRTY-THREE (33) MONTHS. This term consists of a 33-month term as to
Count One and a 33-month term as to Count Two, with all such terms to run concurrently.

The Court makes the following recommendations to the Bureau of Prisons:

e Confinement at a facility in Pensacola, Florida (lst choice) or Montgomery, Alabama (2nd
choice) to allow the defendant to be in close proximity to his family and to assist with his
successful matriculation through the system;

e Allow the defendant to participate in job opportunities at the facility, as available;

e Evaluation for, and participation in, the 500-hour Intensive Drug Treatment Program (RDAP)
and any substance abuse treatment and counseling programs deemed appropriate; and

e Participation in any vocational and educational training programs, as available.

Defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons not before 120 days from the date of Sentencing as directed by the Bureau of Prisons, and as
notified by the United States Marshal.

Defendant is ordered to immediately proceed to the Office of the United States Marshal for
processing and further instructions.

RETURN
I have executed this judgment as follows:
Defendant delivered on _¥ 2 JO to FPC Pens. Cel 4
at (lense ala, EL , with a certified copy of this judgment.

(Jer Jc mn 5 SafAls herr |
UNITED STATES MARSHAL

By: CSO fife
Deputy-CS, Marshal

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SUPERVISED RELEASE
Upon release from imprisonment, Defendant will be on supervised release for a term of THIRTY-

SIX (36) MONTHS. This term consists of a 36-month.term as to Count One and a 36-month term as to
Count Two, with all such terms to run concurrently.

MANDATORY CONDITIONS

Defendant shall not commit another federal, state or local crime.

Defendant shall not unlawfully possess a controlled substance.

Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit to
one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

4. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

5. Defendant shall make restitution in accordance with 18 U_S.C. §§ 3663 and 3663A or any other
statute authorizing a sentence of restitution.

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Defendant shall comply with the standard conditions that have been adopted by this court (set forth
below).

Defendant shall also comply with the additional conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior
while on supervision and identify the minimum tools needed by Probation Officers to keep informed, report
to the court about, and bring about improvements in your conduct and condition.

1. Defendant shall report to the Probation Office in the federal judicial district where you are authorized
to reside within 72 hours of your release from imprisonment, unless the Probation Officer instructs
you to report to a different Probation Office or within a different time frame. After initially reporting
to the Probation Office, Defendant will receive instructions from the court or the Probation Officer
about how and when Defendant must report to the: Probation Officer, and Defendant must report to
the Probation Officer as instructed.

2. After initially reporting to the Probation Office, you will receive instructions from the court or the
Probation Officer about how and when Defendant shall report to the Probation Officer, and
Defendant shall report to the Probation Officer as instructed.

3. Defendant shall not knowingly leave the federal judicial district where you are authorized to reside

without first getting permission from the court or the Probation Officer.

Defendant shall answer truthfully the questions asked by your Probation Officer

Defendant shall live at a place approved by the Probation Officer. If you plan to change where you

live or anything about your living arrangements (such as the people you live with), Defendant shall

notify the Probation Officer at least 10 days before the change. If notifying the Probation Officer in
advance is not possible due to unanticipated circumstances, Defendant shall notify the Probation

Officer within 72 hours of becoming aware of a change or expected change.

6. Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and
Defendant shall permit the Probation Officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.

7. Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless
the Probation Officer excuses you from doing so. If you do not have full-time employment
Defendant shall try to find full-time employment, unless the Probation Officer excuses you from
doing so. If you plan to change where you work or anything about your work (such as your position
or your job responsibilities), Defendant shall notify the Probation Officer at least 10 days before the
change. If notifying the Probation Officer at least 10 days in advance is not possible due to
unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
becoming aware of a change or expected change.

8. Defendant shall not communicate or interact with someone you know is engaged in criminal activity.
If you know someone has been convicted of a felony, Defendant shall not knowingly communicate
or interact with that person without first getting the permission of the Probation Officer.

9. If you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation
Officer within 72 hours.

10. Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or
dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
causing bodily injury or death to another person such as nunchakus or tasers).

11, Defendant shall not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.

12. Ifthe Probation Officer determines that you pose a risk to another person (including an organization),
the Probation Officer may require you to notify the person about the risk and Defendant shall comply

Or

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with that instruction. The Probation Officer may contact the person and confirm that you have
notified the person about the risk.

13. Defendant shall follow the instructions of the Probation Officer related to the conditions of
supervision.

U.S. Probation Office Use Only

A U.S. Probation Officer has instructed me on the conditions specified by the court and has provided me
with a written copy of this judgment containing these conditions. For further information regarding these
conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature: : Date:

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit,
or making an obligation for any major purchases (over $1,000) without approval of the Probation
Officer. Defendant shall provide the Probation Officer access to any requested financial information.

2. The mandatory drug testing provisions of the Violent Crime Control Act are suspended. The Court
authorizes random drug testing not to exceed 104 tests per year.

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CRIMINAL MONETARY PENALTIES
Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.

Assessment Restitution Fine AVAA Assessment* IVTA Assessment*

$200.00 $53,699 934.00 Waived N/A N/A

Defendant must make restitution (including community restitution) to the following payees in the
amount listed below. If Defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C, § 3664()), all nonfederal victims must be paid in full prior to the
United States receiving payment.

RESTITUTION
Name of Payee Restitution Ordered
Clerk, U.S. District Court $53,699 934.00
ATTN: DCU
A01 W. Central Boulevard
Suite 2100

Orlando, Florida 32801
For distribution to the victim(s).

Please contact:

Financial Litigation Unit
U.S. Attorney’s Office
for victim information
813-274-6000

Restitution: Defendant shall pay restitution in the amount of $53,699,934.00. This restitution obligation
shall be payable to the Clerk, U.S. District Court, for distribution to the victim(s). While in Bureau of
Prisons custody, you shall either (1) pay at least $25 quarterly if you have a non-Unicor job or (2) pay at
least 50% of your monthly earnings if you have a Unicor job. Upon release from custody, you are ordered
to begin making payments of $200 per month and this payment schedule shall continue until such time as
the Court is notified by the defendant, the victim or the government that there has been a material change
in your ability to pay. The Court finds that the defendant does not have the ability to pay interest and the
Court waives the interest requirement for the restitution.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pu. L. No. 115-299.

* Justice for Victims of Trafficking Act of 2015, Pub.L. No. 114-22.

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Edward Christopher White, Jr.
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SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
Special Assessment shall be paid in full and is due immediately.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes
a period of imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court, unless otherwise
directed by the Court, the Probation Officer, or _ sd States attorney.

Defendant shall receive credit for all payments previ sly made toward any criminal monetary penalties
imposed. oe

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA
assessment, and (9) penalties, and (10) costs, including cost of prosecution and court costs.

FORFEITURE

Defendant shall forfeit to the United States those assets previously identified in the Order of Forfeiture,
attached hereto, that are subject to forfeiture.

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA _
Case No. 8:20-cr-165-MSS-AAS

EDWARD CHRISTOPHER WHITE, JR.

ORDER OF FORFEITURE AND PRELIMINARY
ORDER OF FORFEITURE FOR DIRECT ASSETS

The defendant pleaded guilty to Counts One and Two of the Superseding
Information which charge him with conspiracy to defraud the United States and pay
and receive kickbacks, and receipt of kickbacks, in violation of 18 U.S.C. § 371 and 42
US.C_ § 1320a-7b(b)(1), and the United States has established that he personally
obtained $33,321,712 in proceeds as a result of his participation in the offenses, and
that the following assets represent or were funded with proceeds of the offenses:

a. The real property located at 22020 Front Beach Rd, Unit 2,
Panama City Beach, Florida 32413, including all improvements
thereon and appurtenances thereto, the legal description for
which is as follows:

UNIT 2: COMMENCE at the Northeast corner of Lot 10, Block
5, Kiska Beach Subdivision, according to the Plat thereof, as
recorded in Plat Book 3, Page 24, of the Public Records of Bay
County, Florida; thence S23 degrees, 22'32" W, along the East line
of said lot, a distance of 125.15 feet to the Southeast corner of said
lot; thence N66 degrees 28'49"W, along the South line of said lot,
a distance of 50.14 feet to the Northeast corner of Lot 16, of said
Block 5; thence $23 degrees 20'24"W, along the East line of said
Lot 16, a distance of 16.47 feet; thence leaving said East line, N66
degrees 39'36"W, a distance of 9.35 feet; thence N66 degrees
48'00"W, a distance of 22:25 feet; thence S23 degrees 46'36"W, a
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distance of 8.04 feet; thence N66 degrees 43'50"W, a distance of
18.78 feet to the POINT OF BEGINNING; thence continue N66
degrees 43'50"W, a distance of 18.62 feet; thence N23 degrees
18'04"E, a distance of 7.99 feet; thence N66 degrees 37'29"W, a
distance of 1.00 feet; thence S23 degrees 45'08"W, a distance of
76.03 feet; thence S66 degrees 44'11”E, a distance of 20.25 feet;
thence N23 degrees 15'49"E, a distance of 68.04 feet to the POINT
OF BEGINNING. Said: Parcel is a part of Lot 17, Block 5, of said
Kiska Beach Subdivision...

Parcel Identification No. 36015- 000-015.

Titled Owner: Chris White:

b. The real property located at 3232 Magnolia Islands Blvd,
Panama City Beach, Florida 32408, including all improvements
thereon and appurtenances thereto, the legal description for
which is as follows:

Lot 181 and 182, The Preserve on the Bay Phase IV-A, according to the
map or plat thereof, as recorded in Plat Book 19, Page 6 of the Public
Records of Bay County, Florida.

Parcel Identification No. 31365-860-000.

Titled Owner: The Edward Christopher White, Jr. Family
Protection Trust, Dated July 24, 2019;

C. $280,000 in lieu of the 1986 Cessna Citation SII $550 aircraft,
Serial Number §550-0111, Tail Number N17LP;

d. 2018 Range Rover, VIN: SALWZ2SE4JA 184013;
e. 2019 Mercedes-Benz Sprinter Van, VIN: WDAPFICDXKP051312;

f. Approximately $5,312.95 seized from Centennial Bank account
number 503081134, held in the name of White Hewitt-Air Corp; .

g. Approximately $124,280.34 seized from Centennial Bank
account number 503088255, held in the name of Christopher
White and Brian Moore;
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h. Approximately $1,197.00 seized from Centennial Bank account
number 503182370, held in the name of D.A.R.C. LLC dba
D.A.R.C. Enterprises;

1. Approximately $1,910.42, seized from Centennial Bank account
number 503182119, held:in:the name of White Medical LLC;

j. Approximately $ sized from Centennial Bank account
number 5031829083;"held in the name of White Oil & Gas LLC;

k. Approximately $902.81: seized from Centennial Bank account
number 503182348, held in the name of Whitewater Consulting
LLC;

1. Approximately $603,818.00 seized from Regions Bank account
number 0263433532, held in the name of The Edward
Christopher White, Jr. Family Protection Trust; and

m. Approximately $580,255.00 seized form Pinnacle Bank account

number 800105121305, held in the name of The Edward
Christopher White, Jr. Family Protection Trust.

The United States moves under 18 U.S.C. § 982(a)(7), and Rule 32.2(b)(2),
Federal Rules of Criminal Procedure, to forfeit the $33,321,712 in proceeds the
defendant personally obtained as a result of his participation in the conspiracy to
defraud the United States and pay and receive kickbacks, and receipt of kickbacks
offenses.

Accordingly, it is hereby:

ORDERED, ADJUDGED, and DECREED that for good cause shown, the
United States’ unopposed amended motion, Doc, 323, is GRANTED

It is FURTHER ORDERED that the United States is entitled to forfeit the
$33,321,712 in proceeds the defendant obtained as a result of his participation in the

offenses. In addition, the assets identified above represent or were funded with
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proceeds of the offenses charged in Counts One and Two and are forfeitable under 18
USC, § 982(ay(7).
It is FURTHER ORDERED that, because the $33,321,712 was dissipated by

the defendant, and the United States could not locate all the of the specific property

traceable to the defendant’s offenses, United States may seek, as a substitute asset,

ated by 18 U.S.C. § 982(b\(1), forfeiture of

any of the defendant’s property up to the value of $33,321,712. The United States may

pursuant to 21 U.S.C, § 853(p), as incorp

also conduct discovery (including depositions, interrogatories, requests for production
of documents, and the issuance of subpoenas), pursuant to Rule 32.2(b)(3) of the
Federal Rules of Criminal Procedure, to help identify, locate, and forfeit substitute
assets. Jurisdiction is retained to enter any order necessary for the forfeiture and
disposition of any substitute asset and to address any third-party claim.

The net proceeds from the forfeited assets will be credited towards the
satisfaction of the defendant’s order of forfeiture.

DONE and ORDERED in Tampa, Florida, on this 28" day of February 2023.

UNITED STATES DISTRICT JUDGE

Copies to:
AUSA Mai Tran
Counsel of Record
